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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

___________________________________________
                                           )
AYMAN SAIED JOUMAA                         )
                        Plaintiff,         )
                                           )                       Civil Action No. 17-2780 (TJK)
      v.                                   )
                                           )
STEVEN MNUCHIN, et al.                     )
                        Defendants.        )
___________________________________________)


  PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR LEAVE TO FILE
                             SUR-REPLY


       Plaintiff Ayman Saied Joumaa respectfully files this opposition to Defendants Secretary of

the Treasury Steven Mnuchin and the United States Department of the Treasury’s Office of

Foreign Assets Control’s (“OFAC”) Motion for Leave to File Sur-Reply, ECF No. 17.


       Sur-replies are generally disfavored. Kifafi v. Hilton Hotels Ret. Plan, 736 F. Supp. 2d 64,

69 (D.D.C. 2010). That said, the determination as to whether to grant or deny leave to file a sur-

reply is fully within the discretion of the Court. See Banner Health v. Sebelius, 905 F. Supp. 2d.

174, 187 (D.D.C. 2012) (citing Akers v. Beal Bank, 760 F. Supp. 2d 1, 2 (D.D.C. 2011)). “The

standard for granting a leave to file a sur-reply is whether the party making the motion would be

unable to contest matters presented to the court for the first time in opposing party’s reply.” Lewis

v. Rumsfeld, 154 F. Supp. 2d 56, 61 (D.D.C. 2001). If the movant raises arguments for the first

time in his reply to the non-movant’s opposition, the court will either ignore those arguments or

provide the non-movant an opportunity to respond to those arguments by granting leave to file a

sur-reply. Flynn v. Veazey Const. Corp., 310 F. Supp. 2d 186, 189 (D.D.C. 2004). A sur-reply is
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most appropriate when a new factual matter is introduced. U.S. ex rel. Pogue v. Diabetes Treatment

Centers of America, Inc., 238 F. Supp. 2d 270, 277 (D.D.C. 2002).


       Defendants seek leave to file a sur-reply to make two arguments: (1) that Plaintiff waived

any argument in favor of his standing to bring a claim under the Fifth Amendment to the U.S.

Constitution because he “fail[ed] to raise it in his consolidated opposition to Defendants’ motion

to dismiss or, in the alternative, for summary judgment, and cross-motion for summary judgment”;

and (2) that Plaintiff’s standing argument “fails to establish that he has standing to assert any rights

under the Fifth Amendment.” See ECF No. 17 (Def.’s Proposed Sur-Reply) at 1.


       Defendants have either previously made these arguments or had an opportunity to do so in

earlier briefings. See Robinson v. Detroit News, Inc., 211 F. Supp. 2d 101, 113 (D.D.C. 2002)

(denying leave to file a sur-reply where the proposed sur-reply merely reiterated prior arguments).

As such, Defendants have failed to demonstrate that Joumaa’s reply has presented any new matters,

and thus their Motion for Leave to File Sur-Reply should be denied. Lewis, 154 F. Supp. at 61.


       Defendants state that Plaintiff waived any argument in favor of his standing to bring the

Fifth Amendment claim due to a “failure to raise it in his consolidated opposition to Defendants’

motion to dismiss or, in the alternative, for summary judgment, and cross-motion for summary

judgment.” Id. Defendants, however, have already advanced this same argument in their prior

briefings. See ECF No. 14 at 15-16. Specifically, Defendants have previously argued that “Joumaa

does not address Defendants’ standing arguments…” and that the Court should dismiss Joumaa’s

Fifth Amendment claim for lack of subject-matter jurisdiction as the Defendants’ arguments with

respect to standing are conceded. Id. As such, Defendants have already had an opportunity to

contest the issue of Plaintiff’s standing and have indeed taken advantage of that opportunity by




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arguing that Plaintiff has waived arguments in favor of standing. Id. Permitting Defendants

additional opportunities to reiterate the same arguments it has previously presented is unwarranted

and contrary to this court’s precedent.


       Further, Defendants attempt to argue that Plaintiff “fails to establish that he has standing

to assert any rights under the Fifth Amendment.” ECF No. 17 at 1. This argument also does not

warrant a sur-reply, as the merits of Plaintiff’s standing argument have also been extensively

argued by Defendants. See e.g., ECF No. 10 at 24-25; ECF No. 14 at 15.                 Defendants

mischaracterize the nature of Plaintiff’s standing argument, which was merely a response to

arguments advanced in Defendants’ Memorandum in Opposition to Plaintiff’s Cross-Motion for

Summary Judgment. Hispanic Affair Project v. Perez, 206 F. Supp. 3d 348 (D.D.C. 2016)

(denying a motion to leave to file a sur-reply where the replying party merely addressed issues

raised in the opposition). As Plaintiff’s standing argument solely addressed arguments raised in

Defendants’ opposition, and solely related to facts identified in Plaintiff’s Amended Complaint,

Plaintiff did not raise any new issues or factual matters warranting a sur-reply. Thus, Defendants

had an adequate opportunity to put forth their arguments as to Plaintiff’s standing and have indeed

done so on successive occasions.


       In sum, the issue of standing has been fully briefed. Plaintiff’s reply did not present any

new factual matters or introduce any new arguments regarding his standing, and Defendants’

proposed sur-reply merely reiterates arguments already presented to the Court. As such, granting

Defendants’ Motion for Leave to File a Sur-Reply would disturb judicial precedent in an

unwarranted fashion, as Defendants lack a proper basis for such leave. Therefore, Defendants’

Motion for Leave to File a Sur-Reply should be denied.




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       For the foregoing reasons, Plaintiff respectfully requests that the Court deny Defendants’

Motion for Leave to File Sur-Reply regarding Plaintiff’s standing argument.


Dated: June 15, 2018


                                                           Respectfully submitted,
                                                           /s/ Erich C. Ferrari, Esq.
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